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1 || JASON M. FRIERSON
United States Attorney
2 || District of Nevada

/
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\Z_ FILED RECEIVED
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6 || Megan.Rachow@usdoj.gov DISTRICT OF NEVADA

BY: DEPUTY

7 || Representing the United States of America

8 UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

UNITED STATES OF AMERICA, 3:23-cr-00024-LRH-CLB
Plainuff, CRIMINAL INDICTMENT

v. VIOLATION:

ESTEBAN GERARDO ADAME- Title 18 U.S.C.8§ 922(g)(1) and 924(a)(8)
13 || LOPEZ, — Felon in Possession of a Firearm
Defendant.

17 THE GRAND JURY CHARGES THAT:

18 COUNT ONE
Felon in Possession of a Firearm
19 (18 U.S.C. §§ 922(g)(1), 924(a)(8))

20 On or about June 17, 2023, in the State and Federal District of Nevada,
21 ESTEBAN GERARDO ADAME-LOPEZ,
22 || defendant herein, knowing he had previously been convicted of a crime punishable by

23 || imprisonment for a term exceeding one year, that is: Attempted Battery with the Use of a

24 || Deadly Weapon, Resulting in Substantial Bodily Harm, in the Second Judicial District

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Court of the State of Nevada, in and for the County of Washoe, on or about July 1, 2020,
case number CR20-0119A; knowingly possessed a firearm, that is: a Taurus, Millennium
G2, 9mm pistol bearing serial number TKM41912, said possession being in and affecting
commerce and said firearm having been shipped and transported in interstate and foreign
commerce, all in violation of Title 18, United States Code, Sections 922(g)(1) and

924(a)(8).

7H
DATED: this Lg —_ day of July, 2023.

A TRUE BILL:

/ sf

FOREPHRSON OF THE GRAND JURY

JASON M. FRIERSON

UnitedStates Gul

ME RACHOW
Assistant United States Attorney

